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                                     UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

                                            EUGENE DIVISION

REGINIA GRIDER,                                                                                 Case No. 6:20-cv-01176-MC

                        Plaintiff,                                         PROPOSED CASE MANAGEMENT
                                                                           SCHEDULE
           v.

OREGON STATE UNIVERSITY,

                        Defendant.

           On October 23, 2020, the parties held a video Rule 26 conference. In accordance with

Fed R Civ P 26(f), the parties submit the following proposed case-management schedule.

                                     Proposed Case Management Schedule

                   1.       Initial Disclosures. The parties will exchange the initial disclosures

required by LR 26-7 on or before November 16, 2020. The parties do not propose any other

changes to the time, form, or requirement for disclosures under LR 26-7.


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                  2.     Subjects, Timing, and Proposed Discovery Cutoff. The parties

anticipate first engaging in fact discovery regarding the allegations, claims, and defenses in this

case, and engaging in damages and expert discovery only after the court rules on any dispositive

motions. The parties believe that a fact discovery cutoff of April 2, 2021, would be appropriate.

                  The parties will schedule their discovery in such a way as to require all responses

to discovery to be served before the cutoff date, and to file any motions relating to discovery

within the discovery period unless it is impossible or impractical to do so. If the parties are

unable to reach agreement on any matter related to discovery, they will arrange a conference

with the court.

                  3.     Electronically-Stored Information. The parties have not identified any

issues regarding the discovery of electronically-stored information at this time. If any issues

arise regarding the discovery, disclosure, or preservation of electronically-stored information, the

parties will attempt to resolve them before seeking the court's assistance. The parties will confer

regarding the best method for production of ESI, including appropriate search terminology, and

will confer if there is an issue with method of production.

                  4.     Claims of Privilege, Protection of Confidentiality, and Proposed

Agreements. The parties have conferred about potential issues regarding education records

protected from disclosure by the Family Educational Rights and Privacy Act ("FERPA"). The

parties will address and confer on any issues with FERPA-protected documents, documents

reflecting personnel matters concerning other University employees, and claims of privilege as

they arise. The parties agree that upon request by the opposing party, a privilege log will be

provided that complies with FRCP 26(b)(5)(A)(ii).




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                    5.    Settlement. The parties have conferred regarding settlement, and will

continue to evaluate the potential for settlement throughout the discovery process.

                    6.    Proposed Case-Management Schedule. The parties request that the

court enter a scheduling order with the following proposed dates:

                            Event                                                           Proposed Date
    Fact Discovery Deadline                                                                  April 2, 2021
    Dispositive Motions                                                                      May 21, 2021*
    Expert Disclosures and Discovery                                            TBD after ruling on dispositive motions
    Joint ADR Report                                                         30 days after ruling on dispositive motions
    Joint Proposed Pretrial Order & Verdict Form                                 TBD after ruling on dispositive motions
    Trial Documents                                                             TBD after ruling on dispositive motions
    Pretrial Conference                                                         TBD after ruling on dispositive motions
    Trial                                                                       TBD after ruling on dispositive motions

* The parties are free to file dispositive motions before this date.


                   DATED this 30th day of October, 2020:

HARMON JOHNSON LLC                                      MILLER NASH GRAHAM & DUNN LLP


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